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AO 106A (08/1 8) Application for a Warrant by Telephone or Other Reliahle Electron ic Means


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                               District of Delaware

                In the Matter of the Search of                                 )
         (Briefly describe the proper(v to be searched
          or identify the person by name and address)
                                                                               j              Case No . 21 -   J-5?J IV\
 a black Apple I Phone cellular telephone using phone
 number 302-415-5088/lnternational Mobile Subscriber                           )
          Identity (IMSI) 310410927642101                                      )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A, incorporated herein

located in the                                    District of ______
                                                                   D_e _la_w_a_re_ _ _ _ _ , there is now concealed (identify the
person or describe the property to be se i=ed):
 See Attachment B


          The basis for the search under Fed . R. Crim. P. 41 (c) is (check one or more) :                                           FILED
                  ff evidence ofa crime;
                  0 contraband, fruits of crime, or other items ill egally possessed;
                  0 property designed for use, intended fo r use, or used in committing a crime;
                                                                                                                              SEP 1 7 2021
                  0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
                                                                                                                  U.S. DISTRICT COi IRT   IC:T   :c   I'';   flf" '   A,I, t.   E

            Code Section                                                                      Offense Description
        18 U.S.C 371                               Conspiracy
        18 USC 1201                                Kidnapping
        18 USC 2261                                Stalking
          The application is based on these facts:

        See attached affidavit
           ffContinued on the attached sheet.
           0 Delayed notice of _ _ days (give e:xact ending date if   han 30 days:    _ __ J is requested under
             18 U.S.C.§3103a, the basis of which is set forth on the a t t a c ~ ~ ~ ~ - - - - - - -


                                                                                                          Applicant ·s signature

                                                                                                        Joseph Oliver, FBI SA
                                                                                                          Printed name and title

Attested to by the applicant in accordance with the requ irements of Fed. R. Crim . P. 4. 1 by
                    Celh.Jlar Phone


Date:             09/17/2021

City and state: _Wilmington, Delaware
                                                                                                          Printed name and title
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 IN THE MA TIER OF THE SEARCH OF
 a black Apple I Phone cellular telephone
                                                            ') \
                                                   Case No. _l.J_ _ _ _
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                                                                       ~__.__-
                                                                                             FILED
 using phone number 302-415-
 5088/International Mobile Subscriber
 Identity (IMSI) 310410927642101                                                        SEP 1 7 2021
                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT) S DISTRICT C('II ip- r,ic, c r- r: ,,r' 1'   l QE



       I, Joseph M. Oliver, being first duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       1.      The United States is investigating the kidnapping and homicide of a female

victim, Keyonna PERKINS (" PERKINS"), which respectively occurred in the Districts of

Delaware and Maryland, by unknown actors. The investigation concerns possible violations of

kidnapping (18 U.S.C. § 1201); conspiracy (18 U.S.C. § 371); and stalking (18 U.S.C . § 2261)

(collectively, "THE OFFENSES").

       2.      This affidavit is in support of a search warrant for the cellular telephone using

phone number 302-415-5088 with International Mobile Subscriber Identity 310410927642101

and International Mobile Equipment Identity 3538130850842309 (hereinafter "TARGET

TELEPHONE"), as described in Attachment A, where there is probable cause to believe that the

items listed in Attachment B-evidence of THE OFFENSES- will be found.

                                   AGENT BACKGROUND

       3.      lam a Special Agent with the Federal Bureau of Investigation ("FBI") and I am

an " investigative or law enforcement officer" of the United States within the meaning of Title 18,

United States Code, Section 210(7), that is, an officer of the United States who is empowered by

law to conduct investigations of and to make arrests for offenses enumerated in Section 2516 of
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Title 18 of the United States Code. I have been a Special Agent with the FBI for over twenty-

two (22) years. I have received on-the-job training regarding the provisions of the Federal Laws

administered under Title 18 and Title 21 of the United States Code.

        4.      Since January of 2013, I have been assigned to the Wilmington, Delaware

Resident Agency of the Baltimore Field Office of the FBI, where I am responsible for drug,

violent crime, and criminal enterprise investigations. ln the course of these investigations, I have

participated in the execution of search warrants and the seizure of evidence relating to drug and

violent crime activities.

        5.      I have participated in the investigation and prosecution of individuals involved in

kidnapping and/or homicide. I have conducted physical and electronic surveillance, debriefed

confidential sources, interviewed witnesses, analyzed telephone records, reviewed records, and

reviewed tape recordings of conversations pertaining to homicide and kidnapping. I have

participated in the preparation and execution of search warrants resulting in the seizure of DNA

and other evidence in violent crime investigations.

       6.      I am aware that individuals commonly use cellular telephones in furtherance of

their criminal activities and frequently change cellular telephone numbers and cellular telephones

in an effort to thwart law enforcement' s use of electronic surveillance. I am also aware that

individuals often speak in vague, guarded, or coded language when discussing their illegal

activity in an effort to further prevent detection.

       7.      The facts set forth in this affidavit are based upon my personal knowledge

obtained during my participation in this investigation, review of documents, knowledge obtained

from other individuals including law enforcement personnel, and communications with others

who have personal knowledge of the events and circumstances described herein. Because this

                                                      2
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affidavit is submitted for the limited purpose of establishing probable cause in support of a

search warrant, this affidavit does not set forth each and every fact learned by me or other agents

during the course of this investigation. The property to be searched is the TARGET

TELEPHONE described in Attachment A, which your affiant knows to be in the custody of the

Wilmington Delaware Police Department. Attachment B details the items to be seized, which are

believed evidence of THE OFFENSES; fruits of THE OFFENSES; or property designed for use,

intended for use, or actually used in committing THE OFFENSES. The applied-for warrant

would authorize the forensic examination of the Device for the purpose of identifying

electronically stored data particularly described in Attachment B

                                     PROBABLE CAUSE

       8.      On or about June 6, 2017, several events took place that formulate the basis for

this affidavit. First, your Affiant knows that several individuals who were looking for Markevis

STAFORD ("STANFORD") waited in an apartment complex near Four Seasons Parkway,

behind the Shop Rite, in Newark, Delaware where STANFORD and his girlfriend, PERKlNS,

lived (hereinafter "Stalking"). Second, your Affiant knows that several individuals kidnapped

PERKINS from the apartment complex parking lot shortly after 11 :00am (hereinafter

"Kidnapping"). Third, your Affiant knows that many of the same individuals, with PERKINS in

the trunk of the car, lured STANFORD out of the apartment and subsequently shot at him as he

was walking on the southbound shoulder of Rt. 896 (hereinafter " 896 Shooting"). Fourth, your

Affiant knows that a smaller group if these individuals transported PERKINS, in the trunk of a

silver Hyundai Sonata, to Elkton, Maryland, before shooting her severaJ times and leaving her,

deceased, on the side of a gravel road (hereinafter "Murder"). Finally, your Affiant knows that,

approximately two hours after the murder, some of these individuals discovered and shot at

                                                3
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STANFORD near 6 th and Spruce Streets in Wilmington, Delaware ( hereinafter "6th and Spruce
                 1
shooting").

           9.        Your Affiant knows the two shootings at STANFORD - the 896 shooting and

the 6th and Spruce shooting - are related to each other and to the kidnapping and murder of

PERKINS, for several reasons. STANFORD was the target of both shootings, and the

kidnapping and murder victim was his girlfriend. Your Affiant knows that STANFORD had

been engaged in an ongoing feud since approximately 201 I with PRITCHETT and several

associates. The ongoing feud has involved multiple shootings and at least one robbery - by

STANFORD, of PRITCHETT and another associate- in 2017. After PRITCHETT was arrested

for the 6th and Spruce shooting, his third phone call was to Dontae SYKES ("SYKES"), a known

associate who has multiple prior felony convictions. Finally, phones connected to PRITCHETT,

SYKES, and their associates were shown by cellular phone location data to be at or near the

location of the Kidnapping, 896 Shooting, and/or 6 th and Spruce shooting on June 6, 2017.


                                                         896 Shooting


           10.       On or about June 6, 2017 at approximately I 1:53 a.m., Delaware State Police

("DSP") responded to Leisure Fitness, 231 Executive Drive, Newark, Delaware, for a reported

drive-by shooting. Upon arrival, DSP met with and interviewed STANFORD, the victim of the

shooting. STANFORD advised he was walking on the southbound shoulder of Rt. 896 when a

metallic-in-color Hyundai sedan pulled up and fired several shots in his direction, none striking




1 During    that shooting, at approximately 2:30 p.m., a six-year-old child was struck in the face by a bullet. The child
was transported to a local hospital and, after months in critical condition at the hospital and then in rehabilitation
facility , he is now home. PRJTCHETT is the indicted suspect in that shooting.

                                                            4
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him. STANFORD said he then ran into Leisure Fitness. STANFORD was otherwise

uncooperative with DSP and refused to give a description of the suspects in the vehicle, only

stating they were unknown males. DSP was able to locate a crime scene on the southbound

shoulder of Rt. 896 and recovered nine (9) spent 9mm shell casings.


                                            The Kidnapping


       11.      One June 6, 2017, at 5:20 p.m., NCCPD responded to STANFORD' s residence,

6 Winterhaven Drive, Apt. 5, Newark, Delaware, for a missing person complaint. Upon arrival,

NCCPD contacted the victim ' s mother, who had reported her daughter, PERKINS, missing.

PERKINS' mother stated that she arrived at her daughter' s apartment and found it unlocked and

ransacked, with the televisions smashed . Through further investigation, officers determined that

PERKINS was STANFORD 's girlfriend and the two lived together at the apartment. While

NCCPD was investigating this complaint, STANFORD returned to his apartment and was

transported to the Wilmington Police Department ("WPD") for a formal interview.

       12.      During STANFORD 's interview, officers discovered that he was the intended

victim of a second drive-by shooting that same day, in the area of E. 6th and N. Spruce Streets in

Wilmington, Delaware.

       13.      STANFORD also relayed that PERKINS sent him several text messages earlier

that day reporting that she was being stopped by the police; that the police were following her

back to the apartment; and then that the police left. NCCPD executed a search warrant for

STANFORD 's phone, which revealed the following text messages consistent with

STANFORD' s story:

   •         11 :21 a.m ., PERKINS sent STANFORD a text message: "The police just pulled me
             over get out."
                                                5
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    •          11:29 a.m., PERKINS sent STANFORD a text message: " it's cops they taking me I
               think."
    •          11 :47 a.m ., PERKINS sent STANFORD a text message: "They following me the
               house"
    •          Finally, at 11 :57 PERKINS sent STANFORD a text message: "ok they left are you
               still on 896."

                STANFORD did not receive any further calls or text messages from PERKINS after
               this text. The assailants shot at STANFORD around 11 :50 a.m. In reality, no such
               police activity (e.g. "the police just pulled me over") took place

        14.       NCCPD executed a search warrant at the apartment of STANFORD and

PERKINS, based on the missing person report filed by PERKlNS ' mother and STANFORD.

During the search, multiple swabs were taken from areas of the apartment where it appears the

apartment had been searched and ransacked.

                                                The Murder

        15 .      At approximately 2:02 p.m. on the same day, Elkton Police Department (EPD)

responded to a utility road off of Ross St. in Elkton, Maryland for a report of a found body. They

discovered a black female deceased from what appeared to be several gunshot wounds to her

upper body and head. The black female was later identified as PERKINS. EPD was able to

confirm through video surveillance and interviews that PERKINS is believed to have been shot

at the location she was found between 12: 12 p.m. and 12: 19 p.m . on June 6, 2017.

        16.       Residential video surveillance footage shows what appears to be a silver Hyundai

sedan entering and exiting the location where PERKINS' body was found around the time that

gunshots were heard by area residents. In the video footage, I can clearly see that the Hyundai

has damage to the rear passenger side quarter panel. This damage appears to be black marks.

        17.       Your A ffiant knows that Jacqueline EG ERSON was the registered owner of a

2015 silver Hyundai Sonata hybrid that matches the appearance of the Sonata seen on residential

                                                  6
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video from the Elkton crime scene - including the same wheels, black antenna, panoramic

sunroof, and the same damage on the rear passenger side quarter panel. EGERSON is the mother

of Jaclyn MCCAIN, who at the time was SYKES' girlfriend and is now his wife. EGERSON

reviewed still photographs from crime scene surveillance and observed that the car at the crime

scene appeared to be her car. Therefore, your Affiant believes that the car used un the

Kidnapping and Murder was EGERSON 's Sonata. On June 29, 2017, investigators searched the

vehicle pursuant to a search warrant signed by this Court.2

                                                     The Stalking

           18.     Your Affiant has reviewed video surveillance from the morning of the kidnapping

and compared it with phone records from that dat. Around 8:00a.m. on June 6, 2017, a red Ford

Explorer that matches the car known to your Affiant to be driven by SYKES is seen on video

briefly leaving the area of PERKIN ' s apartment. It goes to a nearby shopping center and meets

with the silver Hyundai Sonata hybrid described above. After a short time off camera, the

Hyundai Sonata then goes to the area of PERKINS ' apartment while the red Ford Explorer

leaves the area.

           19.     Historical location data for phones belonging to MCCAIN and SYKES support

MCCAIN's coming from the area of Rt. 40 and Rt. 896, towards the Four Seasons shopping

center. At this time, she and SYKES were in phone contact. Records also support SYKES, who

was near PERKINS' apartment, remaining in the area after what appears from video and cellular

phone data to be a car swap. Your Affiant believes MCCAIN brought EGERSON 's Hyundai

Sonata hybrid to SYKES; the two switched cars; and SYKES returned to PERKINS ' apartment



2   Order No. 17-l27M (Chief Magistrate Thynge, June 28, 2017).

                                                        7
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complex with EGERSON's Sonata, while MCCAIN returned to Wilmington in SYKES' red

Ford Explorer. Thus SYKES was in possession of the Hyundai Sonata just hours before it is

seen on video near where PERKINS was murdered.

       20.     A review of the video footage shows PERKINS' vehicle, a reddish/maroon

Chevrolet Camaro, traveling eastbound on Four Seasons Parkway at 10:48 a.m. At I 0:56 a.m.,

video surveillance shows PERKINS enter the McDonald' s located at 2351 S. College Ave,

Newark, Delaware (near the intersection of Routes 40 and 896). Around 11:00 a.m., DelDOT

video shows PERKINS' Camaro turn from Rt. 40 (coming from the area of McDonald's) back

onto Rt. 896 northbound (towards her apartment). Less than one minute later, the same camera

shows a silver Hyundai sedan, matching the surveillance footage of the car near where

PERKINS' body was found one hour later, follow through the same stop light.

       21.    PERKINS Camaro was later found with the McDonald' s food still inside. Your

Affiant therefore believes that she was kidnapped from the parking lot and never made it back

into her apartment. Thus, the text messages mentioned in paragraph 13, above, was sent by the

kidnappers in an effort to lure STANFORD out of the apartment.

                                      Subsequent Investigation

       22.    Your Affiant knows that MCCAIN and SYKES are connected to PRITCHETT

via telephone toll records from March 5, 2017 through the week of the June 6, 2017 kidnapping

of PERKINS, as well as through social media. Further, in July, MCCAIN admitted to

interviewing officers that she had been in a relationship with SYKES since February 2017. The

two were married in November, 2017, after MCCAIN learned of the existence of a grand jury

subpoena.



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           23.     This Court has signed multiple 18 U.S.C. Section 2703(d) orders for SYKES,

 PRITCHETT, MCCAIN, and known associates. 3 Your Affiant and other FBI investigators have

 analyzed the received results, which confinned that SYKES, PRITCHETT, and MCCAIN were

 all in the Newark area, near PERKINS' apartment, on the morning of the Stalking, Kidnapping,

 and Murder.

                               PRITCHETT's Phone Location on June 6, 2017

           24.     Your Affiant knows that PRITCHETT was using at least two (2) phones on June

 6, 2017. The first was subscribed to a PRITCHETT family member, but a Delaware Justice

 Criminal lnfonnation System search linked that number to PRITCHETT on at least five (5)

 police reports. The second (the TARqET TELEPHONE) was subscribed to "Tucker Maxx"

 which your Affiant knows to be an alias for PRITCHETT. The TARGET TELEPHONE was

 recovered from PRITCHETT when he was arrested the day after the Kidnapping/Murder.

 4
     Common call analysis on both phones for June 5-6, 2017, revealed activity consistent with

 PRITCHETT having them in his possession on those days.

           25.     Review of infonnation pursuant to 2703(d) orders demonstrates that

 PRITCHETT's phones, including the TARGET TELEPHONE, were in the area of PERKINS '

 apartment in the early morning hours of June 6. This location data shows that PRITCHETT's

 phones were in the area of PERKINS' apartment at the approximate time of the Kidnapping and




 1
     Order Nos. 17-158M, 17-159M, 17-169M, 17-192M, 17-195M, 17-196M.

 4
  The TARGET TELEPHONE has been in law enforcement custody since PRITCHETT's arrest (and PRITCHETT
 has remained detained pending trial)

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 at the time of the 896 shooting. That location data is consistent with PRlTCHETT's presence at

 the Stalking, Kidnapping, and 896 shooting.

        26.     Later that afternoon, PRlTCHETT's phone is in Wilmington around the time of

 the 6th and Spruce shooting (approximately 2:30 p.m.). PRlTCHETT's phone then shows him on

 the south side of Wilmington approximately ten minutes after the shooting of the six-year-old,

 consistent with having moved south from the area of the shooting. PRlTCHETT's phone

 location data then shows him proceeding further south to the Bear, Delaware, area. At the time

 PRITCHETT was moving south from the area of the shooting, the TARGET TELEPHONE was

 in contact with Dwayne WHITE, a convicted felon whom your Affiant knows to be a criminal

 associate of PRITCHETT's and whom your Affiant knows to be connected to the same

 individuals who engaged in the ongoing feud with STANFORD.

        27.    Your Affiant knows that in June of 2017, PRlTCHEIT drove a 2007 white

 Chevrolet truck, Delaware registration C 18039, registered to April Pritchett. At the approximate

 time of the 6th and Spruce shooting, in which STANFORD appeared to be the target,

 PRlTCHETT's white truck is seen on video on the block where the shooting took place.

        28 .   During the investigation, a Confidential Source ("CS-1 ") was interviewed. CS-1

 indicated that a group of men, including PRITCHETT, kidnapped a woman matching PERKINS '

 description from her apartment complex on June 6, 2017 . CS- I was shown a photograph and

 positively identified PRITCHETT as being involved in the Kidnapping. CS-1 is proven reliable

 to your Affiant because of information s/he provided that has been independently corroborated.




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           29.     On June 8, 2018, your Affiant submitted and was authorized a search warrant for

 the TARGET TELEPHONE. 5 As part of the search of the TARGET TELEPHONE, contents of

the device were downloaded and analyzed by investigators. As part of the downloaded

 infonnation, the visual depictions of TARGET TELEPHONE location data were not transferred,

 or were not transferred completely. It is the intention of your Affiant to search the TARGET

 TELEPHONE for data and information that was not, or not completely transferred during the

 original authorized search.

                                               CONCLUSION

           30.     Based on all of the foregoing information, it is my belief that there is probable

cause to believe that on the TARGET TELEPHONE, there exists evidence, and/or

 instrumentalities of a violation of Title 18, United States Code, Sections 1201 and 1111 as listed

 in Attachment B. By this affidavit and application, I request that the Court issue a search

warrant to search the SUBJECT TELELPHONE, as described in Attachment A, and

subsequently search the TARGET TELEPHONE, for the items listed in Attachment B.

          31.      I further request that the Court seal the warrant and the affidavit and application in

support thereof, except that copies of the warrant in full or redacted form may be maintained by

the United States Attorney's Office and may be served on Special Agents and other investigative

and law enforcement officers of the Federal Bureau oflnvestigation, federally deputized state

and local law enforcement officers, and other government and contract personnel acting under

the supervision of such investigative or law enforcement officers, as necessary to effectuate the

warrant. These documents pertain to and discuss an ongoing criminal investigation that is



5   Order no 18-108M (Chief Magistrate Thynge June 8, 2018)

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 neither public nor known to all the targets of the investigation. Accordingly, there is good cause

 to seal these documents because their premature disclosure may seriously jeopardize the

 investigation. Sealing these documents will also better ensure the safety of agents and others.



                                                   Respectfully submitted,




        Subscribed and sworn to before me on September Ir, 2021 .




        H~




                                                 12
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                                 ATTACHMENT "A"

                            PROPERTY TO BE SEARCHED

      1. The cellular telephone using phone number 302-415-5088 with International Mobile
         Subscriber Identity 31041092764210 I and International Mobile Equipment Identity
         3538130850842309
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                                          ATTACHMENT B

                                         ITEMS TO BE SEIZED

         l.      All records on the TARGET TELEPHONE described in Attachment A that relate

  to violations of Title 18, United States Code, Sections 120 l and 11 l 1 ("THE OFFENSES" ) since

  March 5, 2017, regardless of the application used to create, store, or share same, including:


              a. Text messages and other electronic communications (including but not limited to
                 MMS messages, SMS messages, FaceTime infonnation, and Facebook messages)
                 regarding violations of THE OFFENSES;

              b. contact lists and related identifying infonnation;

              c. call logs; and

              d. location information.

         2.      Evidence of user attribution showing who used, controlled, or owned the TARGET

  TELEPHONE at the time the things described in this warrant were created, edited, or deleted; such

  as logs, phonebooks, saved usemames and passwords, documents, communications, audio files,

  video files, social media accounts and posts, and browsing history.


         As used above, the terms "records" and " information" include all of the foregoing items of

 evidence in whatever form and by whatever means they may have been created or stored, including

  any form of computer or electronic storage (such as flash memory or other media that can store

 data) and any photographic form .




                                                   2
